                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN
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TARENCE BANKS,

                          Plaintiff,
      v.                                          Case No. 14-cv-381-pp

LESLIE PATTON, et al.,

                        Defendants.
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            DECISION AND ORDER DENYING THE PLAINTIFF’S
       MOTION TO DETERMINE THE SUFFICIENCY OF ANSWERS OR
            OBJECTIONS TO ADMISSIONS (DKT. NO. 116) AND
                    MOTION TO COMPEL (DKT. NO. 143)
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      On December 15, 2015, the plaintiff, who is representing himself, filed a

motion to determine the sufficiency of answers or objections to requests to

admit that he had served upon defendants Barker, Friend, Gonzales, Koldeway,

Ledezma, Moran, Noonan, Evans, Schmaling and Wearing (collectively referred

to as the Jail Defendants). Dkt. No. 115. The Jail Defendants responded to the

motion on December 23, 2015 (Dkt. No. 121), and the plaintiff replied in

support of his motion on January 4, 2016 (Dkt. No. 125).

      On January 5, 2016, the court scheduled a hearing for January 20,

2016, to address, among other things, the plaintiff’s motion. Prior to the

hearing, the Jail Defendants indicated that they would be willing to mediate the

case (Dkt. No. 127), so on January 12, 2016, the court referred the part of the

case involving the Jail Defendants to a magistrate judge for mediation. The

hearing proceeded as scheduled on January 20. At the hearing, the plaintiff

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and the Jail Defendants agreed that the court should delay addressing the

plaintiff’s motion in light of the scheduled mediation.

      On March 7, 2016, the plaintiff filed a motion to compel against

defendant Gone (who is not one of the Jail Defendants) (Dkt. No. 143); on

March 21, 2016, the Jail Defendants filed a motion for summary judgment

(Dkt. No. 146); and also on March 21, 2016, the other set of defendants

(collectively referred to as the Medical Defendants) filed a motion for summary

judgment (Dkt. No. 152). All of these motions are fully briefed and ready for the

court’s decision.

      On April 4, 2016, Magistrate Judge William Callahan notified the court

that he had cancelled the mediation. Dkt. No. 166. He explained that, after

consulting with the parties, he had determined that, given the current posture

of the case, a mediation would be an exercise in futility and a waste of

resources. Id.

      The court began to evaluate the defendants’ motions for summary

judgment, and noted that both sets of defendants argued that the plaintiff’s

lawsuit must be dismissed because he had failed to exhaust the available

administrative remedies before filing his lawsuit, as required by the Prison

Litigation Reform Act. On August 2, 2016, the court held an evidentiary

hearing to examine whether the defendants’ arguments had any merit.

      In order to streamline this case, the court will address the plaintiff’s

December 15, 2015 motion to determine sufficiency (Dkt. No. 116) and the

plaintiff’s March 7, 2016 motion to compel (Dkt. No. 143). The court will issue


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a separate order containing its decision on the exhaustion issue and, if

necessary, the motions for summary judgment.

    I.      The Plaintiff’s Motion to Determine the Sufficiency of Answers or
            Objections to Admissions

         In his brief in support of the motion to determine sufficiency, the plaintiff

concedes that the Jail Defendants provided responses to his requests for

admissions. Dkt. No. 117 at 1. He first argues that the court ought to deem all

of the requests he filed with the court at Dkt. No. 75 as admitted because he

received them thirty-one days after he propounded his request, when the Jail

Defendants were required to provide their responses within thirty days. Id. at

12. Second, he goes through, in detail, the responses he received to other

requests, and argues that the court should deem those requests admitted

because he believes they did not respond to the questions he asked, or that

they are evasive, or that they misstate facts, or that they were not made in good

faith. In all, he took issue with thirty-seven of the Jail Defendants’ responses.

         The Jail Defendants responded that their discovery responses were

timely (they argue that the plaintiff miscalculated the thirty-day deadline); that

the plaintiff never attempted to confer with them about the sufficiency of their

responses before filing his motion; and that every one of their responses met

the standards laid out in the Federal Rules of Civil Procedure. Dkt. No. 121.

         The plaintiff replied that he wasn’t required to try to work things out with

the defendants before filing his motion, because he hadn’t filed a motion to

compel. Dkt. No. 125. He reiterated that the responses to Dkt. No. 75 were



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untimely. And he reiterated his arguments as to why some of the responses

were, in his view, unacceptable.

      Federal Rules of Civil Procedure 37(a), which is entitled “Motion for an

Order Compelling Disclosure or Discovery,” discusses the different kinds of

motions that a person could file relating to discovery disputes. Rule 37(1)(3)

discusses motions to compel a party to turn over Rule 26(a) initial disclosures

that it failed to provide; motions to compel an answer, designation, production

or inspection of discovery; motions to deal with evasive or incomplete

disclosures, answers or responses. The rule makes clear that “an evasive or

incomplete disclosure, answer, or response must be treated as a failure to

disclose, answer or respond.” Rule 37(a)(4). Rule 37(a) mandates that along

with any of those kinds of motions, the party must file a “certification that the

movant has in good faith conferred or attempted to confer with the person or

party failing to make disclosure or discovery in an effort to obtain it without

court action.” Civil Local Rule 37 requires that all motions to compel disclosure

or discovery pursuant to Federal Rules of Civil Procedure 26 through 37 be

accompanied by a written certification from the movant that he has, in good

faith, unsuccessfully attempted to confer with the opposing party in order to

resolve the discovery dispute without the court’s involvement.

      It does not matter what title the plaintiff puts on the top of his motion;

the fact that he did not call it a motion to compel is irrelevant. When one reads

the motion, it is clear that the plaintiff is asking the court to impose a sanction

against the Jail Defendants for failing to comply with the discovery rules.


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Deeming requests admitted—even when they were not—is a sanction. The point

of Rule 37(a) is to make sure that when any discovery dispute arises, a party’s

first step is to try to resolve the dispute with the other party. The rule does

allow a court to impose sanctions on a party who deliberately fails to comply

with the rules, but it doesn’t allow the court to impose those sanctions until

the party has first tried to work things out with the other side.

      So—the plaintiff was required to comply with both the national and the

local versions of Rule 37 before filing this motion, and he did not.

      Nor does the court agree with the plaintiff that the responses to Dkt. No.

75 were untimely. As the Jail Defendants pointed out in their response, Fed. R.

Civ. P. 6(1), which provides guidance for calculating due dates and other time

periods, one must exclude from the thirty-day calculation the date that the

demands were served, and if the thirtieth day fell on a Saturday, Sunday or

holiday, that day, as well. So the defendants did respond to Dkt. No. 75 within

the time period specified by the rules.

      But even if, as the plaintiff contends, their response was one day late, the

court would not sanction the defendants by deeming the requests admitted.

Lawyers, who work under these rules frequently, and judges, who enforce

them, realize that the people who operate under these rules are human. Things

happen. Mail gets delayed. People get sick. Documents get lost. Lawyers’ offices

burn down (this happened to a colleague of the undersigned several years ago).

As a result, lawyers and courts are somewhat flexible when it comes to minor

compliance failures. If a party is a day late in providing discovery responses,


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experienced lawyers will not complain. This court has seen cases where a party

has been a week, two weeks, three weeks late in providing discovery, and the

requesting party has simply called or e-mailed and said, “Hey—your discovery

is late. Is there a problem? Can you give me a sense of when you’ll provide it?”

This is the kind of “meet and confer” required by Rule 37, and lawyers do it all

the time, to avoid a court battle when a simple phone call, letter or e-mail could

resolve the entire dispute.

      In an effort to guide any discussions the parties may have regarding the

plaintiff’s concerns, the court also notes that, as highlighted by the Jail

Defendants, an unqualified denial followed by additional information does not

mean that the denial was “based on” or “subject to” the additional information.

See Dkt. No. 121 at 5. The Jail Defendants have clarified that any further

response they made after a denial was only their good faith attempt to direct

the plaintiff to additional information or relevant documentation. An

unqualified denial is a sufficient response under Fed. R. Civ. P. 36. Whether

the plaintiff disagrees with the denial, or believes such a denial to be untrue, is

not relevant to the question of whether the defendants adequately responded to

his discovery demands. Disagreements over the information one obtains in

discovery is what motions for summary judgment and trials are for; parties

obtain information through discovery, and then they are free to argue at

summary judgment or at trial that the information does not support the other

side’s case. Courts do not force parties to change their discovery responses,

simply because the asking party doesn’t agree with those responses.


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          With regard to the plaintiff’s requests to admit directed to defendant

Wearing (Dkt. No. 75-17, Requests Nos. 5, 6, 7, 8, and 10), the court believes

that the plaintiff has clarified that he is asking for specific information about

the particular cell he was first held in when he arrived at Racine County Jail,

not about “holding cells” in general. With this clarification, the Jail Defendants

should be able to provide the plaintiff with responses to those requests. The

ease with which the court was able to resolve this one particular dispute

underscores why it is important for the plaintiff to try to work out his concerns

with the defendants first, before filing a motion and generating litigation in

court. The court is hopeful that the with these observations in mind, the

plaintiff will be able to resolve, through informal discussions with the Jail

Defendants, whatever concerns he had about their responses.

          The court will deny the plaintiff’s motion to determine sufficiency. Dkt.

No. 116.

    II.      The Plaintiff’s Motion to Compel Discovery

          The plaintiff’s March 7, 2016 motion is captioned “Motion to Compel

Discovery.” Dkt. No. 143. Similar to his motion to determine sufficiency, the

plaintiff argues that while defendant Gone (one of the Medical Defendants)

provided responses to his discovery demands, he does not agree with those

responses. Dkt. No. 144. He asserts that he made a good-faith effort to work

this out with the other side (as required by Rule 37), and attaches a letter he

sent to defendant Gone’s counsel in which he asserts that he believes that the

responses he received were “frivolous.” Dkt. No. 145-1.


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      Specifically, the plaintiff asked defendant Gone to produce documents

“authored, created, or sponsored by Mr. Banks which [she] contend[s] support

[her] defenses in this lawsuit” and to produce documents “supporting any

affirmative defense listed in the Answer and Affirmative Defenses of

Defendants.” Dkt. No. 145-1 at 2, 4. Gone objected to these requests, arguing

they requested a legal contention, requested information protected by the work-

product doctrine, and failed to specify the particular documents being sought.

      The court agrees with defendant Gone that these requests are vague and

ambiguous. They are also overbroad. The plaintiff is asking defendant Gone to

produce anything the plaintiff might have written that she believes supports

her version of the case, and any documents that support her affirmative

defenses. What he’s actually asking for, then, is for defendant Gone to lay out

for him her strategy for defending against his allegations.

      The discovery rules do not require a party to produce a roadmap of the

party’s case for the other side. A party might have 1,000 documents that could

lead to relevant evidence, and the rules would require the party to turn over

those 1,000 documents. But the party does not have to tell the other side

which of those 1,000 documents it thinks will really prove its case, or will

support its defense. Each party has a right to determine his or her own

litigation strategy, once the discovery has been produced.

      Indeed, the work product privilege to which the defendant refers is an

important limitation on the scope of discovery. See Allendale Mut. Ins. Co. v.

Bull Data Systems, Inc., 152 F.R.D. 132, 135 (N.D. Ill. 1993). It “exists so that


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one party cannot gain an unfair advantage over another by learning the other

party’s counsel’s strategies and legal theories.” Id. (citations omitted). It

specially protects an attorney’s “mental impressions, conclusions, opinions, or

legal theories.” Id. (citations omitted).

      The documents upon which defendant Gone intends to rely in

formulating her defense may not be privileged (that would need to be

determined on a document-by-document basis), but counsel’s opinion of the

value those documents is. Because the plaintiff’s requests seek the latter, the

court will deny the plaintiff’s motion to compel (Dkt. No. 143).

       The court ORDERS that the plaintiff’s motion to determine the

sufficiency of answers or objections to admissions (Dkt. No. 116) is DENIED. If

the parties, after a good faith effort, are unable to resolve this discovery dispute

on their own, the plaintiff may refile his motion.

      The court further ORDERS that the plaintiff’s motion to compel (Dkt. No.

143) is DENIED.

      Dated in Milwaukee, Wisconsin this 10th day of August, 2016.




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